Case 1:23-mi-99999-UNA Document 2907-25 Filed 09/08/23 Page 1 of1

From: Russo, Dax J. <Russo_dj@jpso.com>

Sent: Tuesday, January 3, 2023 6:03 PM

To: Lopinto tll, Joseph P.; Fitzpatrick tl, John E.; Rivarde, Jason M.

Subject: FW: F-21850-22 Documents

Attachments: F-21850-22 Supplement.pdf; 20221207065303.pdf; 202212070651 12.pdf;

20221207064637.pdf; F-21850-22 Initial.pdf

Attached are the documents forwarded on December 7". If any documents are missing | will send them tomorrow.
Short timeline:
e Incident occurred on June 22, 2022 and June 23, 2022

e Warrant for Randall Reid was issued July 18, 2022 (extensive criminal history)

e Reid Arrested November 25, 2022
e Reid’s attorney sent letter to Stanley dated November 28, 2022.

e Stanley brought it to Clouatre’s attention and after review Clouatre instructed them to have warrant recalled.

e Warrant recalled on November 30, 2022 and DA’s office notified.

When facial recognition was first available to CIB personnel, they were informed that this is another investigative tool
and supporting evidence or investigative leads need to be developed prior to having an arrest warrant issued. Since this
has been brought to my attention, | have met with all the Division Commanders concerning this matter and have
reiterated the criteria that needs to be met before any warrant is authored. They have met with all of their supervisors
and personnel where they reiterated the function of facial recognition and that additional evidence or leads need to be

developed prior to a warrant being issued.

Deputy Chief Dax Russo
Jefferson Parish Sheriff's Office
Criminal Investigations Bureau

PLAINTIFF'S
EXHIBIT

22

